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                         No. 23-1174 (L), 23-1221

  UNITED STATES COURT OF APPEALS FOR THE DISTRICT
                OF COLUMBIA CIRCUIT


                     CITY OF PORT ISABEL, et al.,
                               Petitioners,
                                    v.
          FEDERAL ENERGY REGULATORY COMMISSION,
                               Respondent.

                On Petition for Review of Orders of the
               Federal Energy Regulatory Commission

       PETITIONERS’ JOINT OPPOSITION TO MOTION TO
        EXTEND TIME TO PETITION FOR REHEARING

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 Attorneys for Carrizo Comecrudo Tribe of Texas, Sierra Club, and
 Vecinos para el Bienestar de la Comunidad Costera

Additional counsel listed on inside cover.
USCA Case #23-1174    Document #2072127   Filed: 08/28/2024   Page 2 of 22




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 Attorney for City of Port Isabel

 Dated August 28, 2024
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     Petitioners City of Port Isabel, the Carrizo Comecrudo Tribe of

Texas, Sierra Club, and Vecinos para el Bienestar de la Comunidad

Costera oppose intervenor Rio Grande LNG’s and intervenor Rio Bravo’s

motions to extend the time for seeking rehearing and rehearing en banc.

A delay would harm petitioners, as Rio Grande is currently engaged in

project construction, and has indicated that it will continue to do so until

the mandate is issued. Moreover, a delay is unnecessary: neither Rio

Grande’s decision to retain different counsel nor Rio Grande’s request to

withdraw its carbon capture and sequestration application justify an

extension.

     Rio Grande has continued construction pending issuance of the

mandate, and announced its intention to continue doing so.1 Ongoing

construction damages the project site and emits air pollution, including

hundreds of tons per year of particulates, that impacts surrounding




     1 See “NextDecade Comments on Today’s Court Actions,” (Aug. 6,

2024), https://investors.next-decade.com/news-releases/news-release-
details/nextdecade-comments-todays-court-actions (attached); Rio
Grande LNG, Monthly Status Report No. 57 for July 2024 re the Rio
Grande LNG Project under CP16-454 (Aug. 15, 2025),
https://elibrary.ferc.gov/eLibrary/filedownload?fileid=6E85D9A8-3787-
CD54-9E35-915600D00000 (attached).
                                        1
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communities (see R.1277, Final EIS, at 4-256 & 4-257, excerpt attached).

Construction also puts a thumb on the scale for FERC’s decisionmaking

on remand. On remand, FERC must have the ability to conclude that the

projects’ impacts on surrounding communities, including environmental

justice communities, warrant denial of the project. Less drastically,

FERC may conclude that modifications to the project are appropriate,

including measures to implement carbon capture and sequestration or to

reduce emissions of non-greenhouse-gas pollutants. FERC may be less

likely to make these changes if they would require undoing work that has

already been done. On the other hand, if construction work must be

undone or redone, the harms associated with that initial work will have

been unnecessary and unjustified. Thus, delaying issuance of the

mandate, and allowing construction to continue in the interim, harms

Petitioners.

     In addition, Intervenors have not shown that a delay would provide

meaningful benefits. Rio Grande’s decision to hire additional counsel, Rio

Grande Motion ¶ 3, does not justify a delay. Rio Grande was already

represented by three attorneys, as identified in their response brief (Doc.

2040047), who have extensive experience with FERC litigation in this

                                        2
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circuit. Rio Grande does not argue that its prior counsel became

unavailable or incapable of continuing to handle this matter. Rio

Grande’s decision to change horses mid-stream is purely voluntary, as

was Rio Grande’s decision to select new counsel with prior commitments

during the rehearing period. Rio Grande can make that choice, but not at

the expense of harm to prevailing parties.

     Nor is delay justified by Rio Grande’s decision to withdraw its

carbon capture and sequestration proposal, Rio Grande Motion ¶ 5. This

voluntary action on Rio Grande’s part does not justify delaying

proceedings or prolonging harm to Petitioners. This occurrence was also

explicitly contemplated by the Court’s opinion. See City of Port Isabel v.

FERC, Slip Op. 23, 2024 WL 3659344 *12 (D.C. Cir. Aug. 6, 2024). Rio

Grande’s post-decisional actions may affect the contours of FERC’s

analysis on remand, but they do not undermine the basis of this Court’s

opinion, or impede Rio Grande’s ability to seek rehearing of that opinion.

     This Court has already withheld issuance of the mandate to allow

respondents 45 days to seek rehearing. That amount of time is more than

adequate for respondents to file a petition for rehearing, and the Court

should deny the requests for an extension.

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Dated: August 28, 2024



Respectfully submitted,



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                                     4
USCA Case #23-1174   Document #2072127        Filed: 08/28/2024   Page 7 of 22



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                                     5
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           Federal Energy    #2072127Commission
                          Regulatory      Filed: 08/28/2024                                    Page 8 of 22
                     Office of Energy Projects
                     Washington, DC 20426


                             Rio Grande LNG Project
                       Final Environmental Impact Statement
                                    Volume I




           Rio Grande LNG, LLC and Rio Bravo Pipeline Company, LLC

                                                                                          April 2019
                                                              Docket Nos. CP16-454-000, CP16-455-000
                                                                                    FERC/EIS-0287F
                                              Cooperating Agencies:




U.S. Environmental        U.S. Department         U.S. Coast Guard       U.S. Department        U.S. Army
 Protection Agency        of Transportation                                 of Energy        Corps of Engineers




           U.S. Fish and            Federal Aviation      National Park Service       National Oceanic
          Wildlife Service           Administration                            Atmospheric Administration -
                                                                              National Marine Fisheries Service
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workers. In addition, particulate emissions would result from fugitive dust generated by
construction-related activities, the quantity of which would depend on several factors, including:

       •   the size of area disturbed;

       •   the nature and intensity of construction activity;

       •   surface properties (such as the silt and moisture content of the soil);

       •   the wind speed; and

       •   the speed, weight, and volume of vehicular traffic.

        The Project would result in emissions from operation of the LNG Terminal, compressor
stations, and booster stations, as well as fugitive emissions from pipe flanges, valves, and valve
stems. Emissions estimates for each facility are included below.

       LNG Terminal

       Construction

        Construction of the LNG Terminal would be continuous over a 78-month period,
beginning upon receipt of all applicable permits. The first LNG train is expected to be
completed by Year 4, with construction of the final LNG train expected to be complete in Year
7. In addition, emissions from worker commutes associated with commissioning the Project
would occur in Year 8. Construction of Compressor Station 3 would also begin the first quarter
of Year 3, with additional compression installed periodically through Year 7, as subsequent LNG
trains are brought online. The construction emissions estimate includes emissions from
operation of construction equipment, operation of the onsite concrete batch plants, deliveries of
supplies, worker commutes, and land disturbance. Annual emissions estimates for activities
associated with construction of the LNG Terminal and Compressor Station 3 are summarized in
table 4.11.1-4. To estimate construction emissions, RG LNG developed an inventory of non-
road equipment, vessels, on-road vehicles, off-road vehicles, and expected activity levels (either
hours of operation or miles traveled) that would be used during construction at the LNG
Terminal site. The level of activity for each piece of construction equipment was combined with
the relevant emission factors to determine estimates of annual construction emissions.

       Two concrete batch plants would be established at the site, mixing a total of about
200,000 tons of cement, 400,000 tons of sand, and 600,000 tons of aggregate to produce concrete
for construction of the LNG Terminal. Onsite batching facilities would implement fugitive dust
suppression equipment and filters as required by the TCEQ.




                                            4-256                             Environmental Analysis
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                                        Table 4.11.1-4
 Estimated Construction Emissions for the Rio Grande LNG Terminal and Compressor Station 3
                                           (tpy)a,b
 Facility and                                                                                                 Total
                       NOx           CO             SO2           PM 10          PM 2.5         VOC                           CO2e
    Year                                                                                                      HAPs
 Rio Grande LNG Terminal
     Year 1            12.0          18.6           2.0           589.4           60.0           0.7            0.2           653.8
     Year 2            69.7         111.4           11.8         1,199.5         125.8           4.2            1.2          9,711.0
     Year 3            127.8        174.3           23.5         1,146.6         125.8           6.4            1.7         15,835.2
     Year 4            59.3         118.5           10.6           91.4           14.2           3.6            1.0          9,046.0
     Year 5            45.0         106.7           8.0            56.1           9.2            2.9            0.8          7,532.0
     Year 6            39.0          70.2           7.1            26.9           5.8            2.1            0.5          6,310.0
     Year 7             1.2          10.4           0.0            13.9           1.4            0.1            <0.1         1,054.0
     Year 8            <0.1          <0.1           <0.1           <0.1           <0.1           <0.1           <0.1           13.8
 Compressor Station 3
     Year 3             1.3          10.3           <0.1           10.6           1.1            0.3            <0.1         1,371.5
     Year 4             0.1          0.7            <0.1           0.7            <0.1           <0.1           <0.1          114.8
     Year 5             0.7          6.5            <0.1           0.2            <0.1           <0.1           <0.1          933.9
     Year 6             0.7          5.8            <0.1           0.4            <0.1           <0.1           <0.1          831.5
     Year 7             0.4          4.4            <0.1           0.5            <0.1           <0.1           <0.1          642.8
 a
              Emission estimates include construction emissions from on- and off-road vehicle activity, truck deliveries, vessel
              activity, worker commutes, and fugitive dust. HAPs were not estimated by RG LNG for vessel activity; however,
              they were estimated using emission factors for commercial marine vessels identified by the EPA in the 2014
              National Emissions Inventory.
 b
              Additional fill material may be obtained from the Port Isabel dredge pile for the Project; RG LNG is currently
              conducting an analysis of the barge transport alternative for feasibility of use (see section 3.4). If used, RG LNG
              would obtain the fill via barge. RG LNG estimated annual fugitive emissions from use of the temporary haul road
              originally proposed for use on the Project; because the haul road is no longer part of the Project, but the transport of
              material by barge may not be required, we have included use of the haul road as a conservative estimate for annual
              fugitive construction emissions.




        Construction materials would be delivered to the site by barge and by truck. Tugboats
would be used for barge deliveries of construction material and equipment. RG LNG estimates
that 878 marine deliveries would occur over a 5-year period during construction. Emissions
associated with transportation of construction material would be expected to continue until
Year 7. Other vessel emissions during LNG Terminal construction would result from dredging
of the marine facilities and surveys to map underwater topography.

        Fugitive dust emissions would be generated throughout the construction period and are
included in the annual emissions estimates. Fugitive dust emissions would include contributions
from general site construction work (acreage impacted), earth-moving fugitive dust emissions
(quantity of soil moved), and unpaved road travel (distance of travel and weight of vehicles).
Fugitive dust would be produced primarily during the site preparation activities, when the site
would be cleared of debris, leveled, and graded, including at proposed offsite facilities.



                                                              4-257                                       Environmental Analysis
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       NextDecade Comments on Today’s
       Court Actions
       HOUSTON--(BUSINESS WIRE)--Aug. 6, 2024-- Today, the U.S. Court of
       Appeals for the D.C. Circuit (Court) issued an order vacating the Federal
       Energy Regulatory Commission’s (FERC) remand authorization of
       NextDecade Corporation’s (NextDecade) (Nasdaq: NEXT) Rio Grande LNG
       Facility on the grounds that the FERC should have issued a supplemental
       Environmental Impact Statement (EIS) during its remand process.

       NextDecade is disappointed in the Court’s decision and disagrees with its
       conclusions. The Company is reviewing the Court’s decision and assessing
       all of its options. At this time, construction continues on the first three
       liquefaction trains and related infrastructure (Phase 1) at the Rio Grande LNG
       Facility, and the Company is evaluating the impact of the Court’s decision on
       the timing of a positive final investment decision (FID) on Train 4.

       About NextDecade Corporation

       NextDecade Corporation is an energy company accelerating the path to a
       net-zero future. Leading innovation in more sustainable LNG and carbon
       capture solutions, NextDecade is committed to providing the world access
       to cleaner energy. Through our subsidiaries Rio Grande LNG and NEXT
       Carbon Solutions, we are developing a 27 MTPA LNG export facility in South
       Texas along with one of the largest carbon capture and storage projects in
       North America. We are also working with third-party customers around the
       world to deploy our proprietary processes to lower the cost of carbon
       capture and storage and reduce CO2 emissions at their industrial-scale
       facilities. NextDecade’s common stock is listed on the Nasdaq Stock Market
       under the symbol “NEXT.” NextDecade is headquartered in Houston, Texas.

https://investors.next-decade.com/news-releases/news-release-details/nextdecade-comments-todays-court-actions                   Page 1 of 3
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       For more information, please visit www.next-decade.com.

       Forward-Looking Statements

       This press release contains forward-looking statements within the meaning
       of U.S. federal securities laws. The words “anticipate,” “contemplate,”
       “estimate,” “expect,” “project,” “plan,” “intend,” “believe,” “may,” “might,”
       “will,” “would,” “could,” “should,” “can have,” “likely,” “continue,” “design,”
       “assume,” “budget,” “guidance,” “forecast,” and "target," and other words
       and terms of similar expressions are intended to identify forward-looking
       statements, and these statements may relate to the business of NextDecade
       and its subsidiaries. These statements have been based on assumptions and
       analysis made by NextDecade in light of current expectations, perceptions
       of historical trends, current conditions and projections about future events
       and trends and involve a number of known and unknown risks, which may
       cause actual results to differ materially from expectations expressed or
       implied in the forward-looking statements. Although NextDecade believes
       that the expectations reflected in these forward-looking statements are
       reasonable, it can give no assurance that the expectations will prove to be
       correct. NextDecade’s actual results could differ materially from those
       anticipated in these forward-looking statements as a result of a variety of
       factors, including those discussed in NextDecade’s periodic reports that are
       filed with and available from the Securities and Exchange Commission.
       Additionally, any development of subsequent trains at the Rio Grande LNG
       Facility or CCS projects remains contingent upon receipt of requisite
       governmental approvals, execution of definitive commercial and financing
       agreements, securing all financing commitments and potential tax
       incentives, achieving other customary conditions and making a final
       investment decision to proceed. The forward-looking statements in this
       press release speak as of the date of this release. NextDecade may from
       time to time voluntarily update its prior forward-looking statements, however,

https://investors.next-decade.com/news-releases/news-release-details/nextdecade-comments-todays-court-actions                   Page 2 of 3
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       it disclaims any commitment to do so except as required by securities laws.


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August 15, 2024                                                                 1000 Louisiana Street, Suite 3300
                                                                                Houston, Texas 77002
                                                                                +1 713-574-1880
Debbie-Anne Reese, Acting Secretary                                             www.next-decade.com
Federal Energy Regulatory Commission
888 First Street, NE
Washington, D.C. 20426

Re:       Rio Grande LNG, LLC
          Monthly Status Report No. 57
          Docket No. CP16-454-000

Dear Ms. Reese:

Enclosed for electronic filing in the above-captioned docket is Rio Grande LNG, LLC’s (“Rio
Grande”) Monthly Status Report for the period ending July 31, 2024, submitted in compliance
with the Federal Energy Regulatory Commission’s (“Commission”) November 22, 2019 Order
Granting Authorizations Under Sections 3 and 7 of The Natural Gas Act (Condition No. 9).1

Certain information included in this filing is considered commercially-sensitive, business
confidential information. Pursuant to Rule 388.112 of the Commission’s regulations, Rio Grande
requests confidential treatment for these materials, which have been marked “CUI//PRIV—
PRIVILEGED AND CONFIDENTIAL INFORMATION—DO NOT RELEASE.”2 Questions
regarding this request for privileged and confidential treatment should be directed to the
undersigned.

Should you have any questions about the instant filing, please feel free to contact the undersigned
at (713) 574-1880.

Thank you,

/s/ Montana Patin
Montana Patin
Rio Grande LNG, LLC

cc:       Kenneth Warn, FERC
          Dakoriye Charles, FERC
          Steven Kusy, FERC
          Ilker Telci, FERC
          Lisa Tonery, Orrick, Herrington & Sutcliffe, LLP

Enclosures




1
      Rio Grande LNG, LLC & Rio Bravo Pipeline Company, LLC, 169 FERC ¶ 61,131 (2019), modified, Rio Grande
      LNG, LLC & Rio Bravo Pipeline Company, LLC, 183 FERC ¶ 61,046 (2023).
2
      18 C.F.R. § 388.112 (2023).
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                 RIO GRANDE LNG PROJECT

                     DOCKET NO. CP16-454-000

            MONTHLY STATUS REPORT NO. 57

                        PERIOD: JULY 2024
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                                                                                                           Docket No. CP16-454-000
                                                                                                         Monthly Status Report No. 57


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                                                                         Docket No. CP16-454-000
                                                                       Monthly Status Report No. 57


1.0    INTRODUCTION
Pursuant to the Order Granting Authorizations Under Section 3(a) of the Natural Gas Act dated
November 22, 2019 (“Order”), the Federal Energy Regulatory Commission (the “Commission” or
the “FERC”) authorized Rio Grande LNG, LLC (“Rio Grande”) to site, construct and operate the
proposed liquefied natural gas (“LNG”) export terminal (the “Rio Grande LNG Project” or the
“Project”).

In accordance with the Commission’s Order, Environmental Condition No. 9, Rio Grande hereby
submits this Monthly Status Report for July 2024.

2.0    PROJECT
2.1 Status of Permits for Rio Grande LNG Project
Rio Grande has obtained all applicable federal, state, and local permits required for the Project and
filed an updated permit table with the FERC on February 25, 2020. Rio Grande is in compliance
with issued permits and authorizations.

On July 12, 2024, Rio Grande filed a reauthorization request for the Incidental Harassment
Authorization with the National Marine Fisheries Service.

2.2 Construction Activity Status

2.2.1 Current Activities
The Project completed placement of the mud mat for LNG Tank 1 and concrete placement for the
four breasting dolphin pile caps in Jetty 1. The Project commenced placement of pre-cast LNG
trenches in Train 1, the general area excavation of Train 2 Cryo Rack, mud mat and rebar
placement for LNG Tank 2 foundation, and mooring dolphin monopile driving for Jetty 2.

Ongoing construction activities during the reporting period include breasting dolphin construction
at Jetty 1 and 2, underground firewater piping installation and testing, site civil activities such as
concrete foundation work, construction of the Material Offloading Facility, and structural steel in
Train 1. Simultaneously, work continues for soil stabilization via Deep Mixing Method (“DMM”)
within Train 2 area, production pile-driving, improvement of onsite laydown areas and work pads
to support construction, arrangement of temporary facilities, utilities, and structures. Construction
of the facility perimeter levee continues to progress in multiple areas of the site, as well as
improvements in temporary drainage and onsite construction roads.

The contractor continued mobilization and site preparation activities at the Port of Brownsville
offsite parking and storage area (“OPSA”) during the reporting period. An environmental crew
continued installing silt fence perimeter control during grubbing and grading activities following
bird surveys and hazing activities.

The Project maintains continuous monitoring and maintenance of existing erosion control devices,
where accessible. The cattle fence (three string barbed wire) installation is ongoing.

                                                                                                      3
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                                                                      Monthly Status Report No. 57



No Texas tortoises or federally listed wildlife observations occurred during this reporting period.

2.2.2 Planned Activities
In August 2024, Rio Grande will continue the ongoing work and anticipates completion of Train
2 DMM and the permanent driveways associated with the non-jurisdictional State Highway 48
modifications. The Project plans to commence initial placement of concrete for LNG Tank 1 ring
foundation.
2.3 Listing of Problems Encountered and Non-Compliance Activity
During the reporting period, a non-compliance was issued for land disturbing activities beyond the
approved limits of disturbance (“LOD”) at the Port of Brownsville OPSA. During site preparation
activities for the installation of perimeter control silt fence, the Environmental Inspector observed
a disturbed area approximately 600 feet in length and variable in width ranging from one (1) to 20
feet beyond the LOD. No resources were impacted and no trees were cleared.

2.4 Corrective Actions Implemented
An environmental stand-down was held immediately following identification of the non-
compliance issue discussed in Section 2.3. Crews walked the staked LOD and were retrained on
effectively communicating with spotters when making an initial pass with equipment along the
project perimeter. The affected area was restored and stabilized with straw mulch. A silt fence was
installed along the perimeter as planned and serves as an additional physical boundary.

2.5 Effectiveness of Implemented Corrective Actions
The corrective actions were effective.

2.6 Landowner Issues
The landowner was notified following the non-compliance issue and had no concerns. In addition,
no landowner complaints were reported during the reporting period.

2.7 Agency Communications
On July 23, 2024, FERC performed an engineering construction inspection on the Project. No
deficiencies or non-compliances were noted.




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2.8 Progress Pictures




                           LNG Tank 2 mud mat placement




                             Monopile driving at Jetty 2


                                                                                           5
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                                                                Docket No. CP16-454-000
                                                              Monthly Status Report No. 57




                     Inside Battery Limits Spill Trench in Train 1




                                  Train 1 civil work

                                                                                             6
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                 CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rules of Appellate Procedure Rule 27(d)

and 32(a), I certify that the foregoing opposition complies with:

        1. the type-volume limitations established by Rule 27(d)(2)(A),

           because this opposition contains 574 words; and

        2. the typeface requirements of Rule 32(a)(5) and the type style

           requirements of Rule 32(a)(6) because it has been prepared

           in a proportionally spaced typeface (14-point) using

           Microsoft Word (the same program used to calculate the

           word count).

                                  /s/ Nathan Matthews
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                                  la Comunidad Costera, and Sierra
                                  Club




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                     CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of August, 2024, I have

 served the foregoing Petitioners’ Joint Opposition to Motion to

 Extend Time on all registered counsel through the Court’s

 electronic filing system (ECF).

                            /s/ Nathan Matthews
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                            Attorney for Carrizo Comecrudo
                            Tribe of Texas, Vecinos para el
                            Bienestar de la Comunidad
                            Costera, and Sierra Club




                                         7
